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9
                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11
     THE UNITED STATES OF AMERICA, ) No. 2:19-CR-0090MCE
                      Plaintiff,       )
12                                     ) STIPULATION
                                       ) CONTINUING STATUS
13
                                       ) CONFERENCE AND EXCLUDABLE TIME;
14         v.                          ) PERIODS UNDER SPEEDY TRIAL ACT;
                                       ) ORDER
15
     ROBERT PIERRE DUNCAN, and         )
16   EVA SYMONE CHRISTIAN              ) Date: 9/12/19
                                       ) Time: 10:00 a.m.
17
                                       ) Court: Hon. Morrison C. England
18                    Defendants.      )
     __________________________________)
19                                 STIPULATION
20
       1. By previous order, this matter was set for status on July 25, 2019.
21
       2. By this stipulation, defendants now move to continue the status conference until
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23        September 12, 2019, and to exclude time between July 25, 2018 and September
24
          12, 2019, under Local Code T4.
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       3. The parties agree and stipulate, and request that the Court find the following:
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27            a. The government has provided initial discovery associated with this case that
28               includes hours of audio recordings. The indictment for Mr. Duncan was


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1              filed on Mya 30, 2019. Ms. Christian was arraigned on June 14, 2019.
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           b. Counsel for defendants desire additional time to review and copy discovery,
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               consult with their clients, negotiate possible resolution, finish investigation
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5              and discuss developments with their clients.
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           c. Counsel for defendants believe that failure to grant the above-requested
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               continuance would deny counsel the reasonable time necessary for effective
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9              preparation, taking into account the exercise of due diligence.

10         d. The government does not object to the continuance.
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           e. Based upon the above-stated facts, the ends of justice served by continuing
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13
               the case as requested outweigh the interest of the public and the defendant

14             in a trial within the original date prescribed by the Speedy Trial Act.
15
           f. For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. §
16
               3161, et seq., within which trial must commence, the time period of July 25,
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18             2019, to September 12, 2019, inclusive, is deemed excludable pursuant to
19
               18 U.S.C.§ 3161(h)(7)(A), B(iv), Local Code T4, because it results from a
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               continuance granted by the Court at defendants’ request on the basis of the
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22
               Court’s finding that the ends of justice served by taking such action

23             outweigh the best interest of the public and the defendant in a speedy trial.
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     4. Nothing in this stipulation and order shall preclude a finding that other provision
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        of the Speedy Trial Act dictate that additional time periods are excludable from the
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27      period within which a trial must commence.
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     IT IS SO STIPULATED.
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     Dated: June 22, 2019                      Respectfully submitted,
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5                                              /s/ Andre Espinosa
                                               ANDRE ESPINOSA
6
                                               Assistant U.S. Attorney
7
     Dated: June 22, 2019                      /s/ Kelly Babineau
8
                                               KELLY BABINEAU
9                                              Attorney for Eva Christian

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11
     Dated: June 22, 2019                      /s/ Shari Rusk
                                               SHARI RUSK
12                                             Attorney for ROBERT DUNCAN
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14
                                       ORDER
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           IT IS SO ORDERED.
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     Dated: July 24, 2019
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